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    UNITED STATES DISTRICT COURT
    NORTHERN DISTRICT OF NEW YORK
    DORSETT-FELICELLI, INC., doing business as
    Pyramids and PYRAMID PRE-SCHOOL, INC.,

                                   Plaintiffs
                -v-                                         Civ. No. 1:04-CV-1141
                                                                  (LEK/RFT)
    COUNTY OF CLINTON, PAULA CALKINS
    LACOMBE, Individually and in her official capacity
    as Director of the County of Clinton Department of
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    Public Health, KATHERINE O’CONNOR,
    Individually and in her official capacity as Early
    Intervention Official and Pre-School Related Service
    Coordinator, and NORTH COUNTRY KIDS, INC.,
    STEPHANIE GIRARD, KELLY MCCAULEY, and
    MELISSA PUCHALSKI,

                                   Defendants.
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    APPEARANCES:                                 OF COUNSEL:

    MEREDITH H. SAVITT, P.C.                     MEREDITH H. SAVITT, ESQ.
    Attorney for Plaintiffs
    636 Delaware Avenue
    Delmar, New York 12054

    RYAN & SMALLACOMBE, PLLC                     CHRISTOPHER R. LYONS, ESQ.
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    Attorney for Clinton County Defendants
    100 State Street, Suite 800
    Albany, New York 12207

    WHITEMAN, OSTERMAN, & HANNA                  JOHN J. HENRY, ESQ.
    Attorney for New County Kid Defendants
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    RANDOLPH F. TREECE
    United States Magistrate Judge

                          MEMORANDUM-DECISION and ORDER

           This case has traveled an unusually circuitous routein addressing the nature of

    the claims.1 Recently, this case has been confounded by yet another obstacle that may

    derail it further from a punctual resolution of all of the attending issues. Currently,
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    the Court is confronted by a rather anomalous matter triggered by the Plaintiffs’ recent

    filing of petitions for bankruptcy. The issue bedeviling the Court is whether 11 U.S.C.

    § 362, an automatic stay provision, is applicable at this time to all features of this

    litigation.

           The Court remains unaware as to when both Plaintiffs filed petitions for
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    bankruptcy but we can presume that such filings occurred after the filing of the


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              This civil rights action, pursuant to 42 U.S.C. § 1983, alleging a violation of Plaintiffs’
    First Amendment rights, was commenced on September 30, 2004. Dkt. No. 1, Compl.
    Concurrently, a Motion for Preliminary Injunction was filed. Dkt. No. 3. While the Motion for
    Preliminary Injunction was pending, on December 23, 2004, the Clinton County Defendants filed
    a Motion to Dismiss. Dkt. No. 20. In part because there was a pending Article 78 proceeding
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    pending in New York State Supreme Court, a Memorandum-Decision and Order, dated June 1,
    2005, was issued staying this federal action and, for other reasons, the Complaint was dismissed.
    Dkt. No. 27. Eventually, on September 26, 2006, the stay was lifted, Dkt. No. 38, Mem.-Dec. &
    Order, dated Sept. 26, 2006, and a Judgment of Dismissal was docketed, Dkt. No. 39. An appeal
    was taken from that Judgment. On January 8, 2009, the Second Circuit issued a Mandate and a
    Decision and Order vacating, remanding, and reinstating the Complaint. See Dkt. Nos. 45 & 46.
    On February 10, 2009, this Court issued a Uniform Pretrial Scheduling Order. Dkt. No. 50.
    However, shortly thereafter, Plaintiffs filed a Motion to Amend/Correct and to Supplement the
    Complaint. Dkt. No. 51. Because of the current issue, only the North Country Kids Defendants
    have filed any opposition, Dkt. No. 58, and the Clinton County Defendants are requesting additional
    time to submit opposition to Plaintiffs’ Motion to Amend, Dkt. No. 60.

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    Complaint. It was not until April 20, 2009, when the Court was first notified that

    currently pending in the United States Bankruptcy Court for the Northern District of

    New York, are Chapter 11 petitions for Pyramids Child Development Center and

    Dorsett-Felicelli, Inc. Dkt. No. 54, County Defs.’ Lt.-Br., dated Apr. 20, 2009.

    Apparently Plaintiffs’ Counsel made an application before the Bankruptcy Court for

    permission to act as special counsel in this litigation. Id.2 Realizing that there are now
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    parties to this litigation who have pending bankruptcy matters, the Court pondered

    whether the automatic stay provision of 11 U.S.C. § 362 was applicable to this civil

    litigation. To cut to the quick on this issue, the Court immediately held a telephone

    conference on May 4, 2009. The Conference did not resolve the particular issue of
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    whether only Defendants’ potential claims are stayed or if the entire litigation,

    including Plaintiffs’ Complaint, should be stayed as well. Because the breadth of the

    automatic stay remained indeterminate, the Court directed the parties to brief ths issue.

    See Dkt. Nos., 61, Pls.’ Lt.-Br., dated May 13, 2009, 62, North Country Defs.’ Lt.-

    Br., dated May 19, 2009, & 63, County Defs.’ Lt.-Br., dated May 20, 2009.
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           Apparently, the parties are in agreement that Defendants’ prospective




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             During a telephone conference pertaining to the bankruptcy matter, it was represented that
    the President of Dorsett-Felicelli, Inc., who is attempting to appear in this action, may also declare
    bankruptcy.

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    counterclaims3 are stayed, pursuant to 11 U.S.C. § 362(a). Acands, Inc. v. Travelers

    Cas. and Sur. Co., 435 F.3d 252, 259 (3d Cir. 2006) (finding that the stay would not

    preclude nor prevent any defense interposed by defendants to a debtor plaintiff’s cause

    of action).4 Where the parties continue to differ is whether any stay automatically

    imposed in this action extends to Plaintiffs’ Complaint as well. Plaintiffs posit that

    it does not, while the Defendants unanimously proffer that it does, or should.
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           11 U.S.C. § 362(a)(1) states that

           [e]xcept as provided in subsection (b) of this section, a petition filed
           under section 301, 302, or 303 of this title, or an application filed under
           section 5(a)(3) of the Securities Investor Protection Act of 1970, operates
           as a stay, applicable to all entities, of–(1) the commencement or
           continuation, including the issuance or employment of process, of a
           judicial, administrative, or other action or proceeding against the debtor
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           that was or could have been commenced before the commencement of
           the case under this title, or to recover a claim against the debtor that
           arose before the commencement of the case under this title; (2) the
           enforcement, against the debtor or against property of the estate, of a
           judgment obtained before the commencement of the case under this title;
           (3) any act to obtain possession of property of the estate or of property


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             Presently, no Defendant has pleaded a counterclaim against either Plaintiff. However,
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    Clinton County Defendant notes that it is a significant creditor in the bankruptcy proceeding because
    of monies owed to it for overpayment surrounding the actual referrals in his action. Dkt. No. 63 at
    p. 1. Therefore, a viable motion to amend the answer to include a counterclaim may eventually
    ensue.
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             The Third Circuit instructs us that “[d]efenses, as opposed to counterclaims, do not violate
    the automatic stay because the stay does not seek to prevent defendants sued by a debtor from
    defending their legal rights and ‘the defendant in the bankrupt’s suit is not, by opposing the suit,
    seeking to take possession of it[.]’” Acands, Inc. v. Travelers Cas. and Sur. Co., 435 F.3d at 259
    (quoting, in part, Martin-Trigona v. Champion Fed. Sav. & Loan Ass’n, 892 F.2d 575, 577 (7thCir.
    1989)).

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          from the estate or to exercise control over property of the estate; (4) any
          act to create, perfect, or enforce any lien against property of the estate;
          (5) any act to create, perfect, or enforce against property of the debtor
          any lien to the extent that such lien secures a claim that arose before the
          commencement of the case under this title; (6) any act to collect, assess,
          or recover a claim against the debtor that arose before the
          commencement of the case under this title; (7) the setoff of any debt
          owing to the debtor that arose before the commencement of the case
          under this title against any claim against the debtor; and (8) the
          commencement or continuation of a proceeding before the United States
          Tax Court concerning a corporate debtor's tax liability for a taxable
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          period the bankruptcy court may determine or concerning the tax liability
          of a debtor who is an individual for a taxable period ending before the
          date of the order for relief under this title.
    11 U.S.C. 362(a) (1)-(8).

    Courts have found the operative words within this statutory scheme to be “against the

    debtor.” It is settled law within this Circuit, as well as other circuits, that the stay
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    provision of § 362 is applicable solely to all proceedings against a bankrupt debtor.

    Koolik v. Markowitz, 40 F.3d 567 (2d Cir. 1994) (citing Teachers Ins. & Annunity

    Ass’n of Am. v. Butler, 803 F.2d 61, 62 (2d Cir. 1986); Acands, Inc. v. Travelers Cas.

    and Sur. Co., 435 F.3d at 259 (quoting Ass’n of St. Croix Condominium Owners v. St.

    Croix Hotel Corp., 682 F.2d 446, 448 (3d. Cir. 1982); Kilmer v. Flocar, Inc., 212
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    F.R.D. 66, 73 (N.D.N.Y. 2002) (confirming that the operative statute stays only

    proceedings against a “‘debtor’ - the term used by the statute itself”).5 The stay is

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             Regarding debtors, this automatic stay is applicable to all proceedings including appeals.
    Koolik v. Markowitz, 40 F.3d 567, 568-69 (2d Cir. 1994) (ruling that an answer containing a
    counterclaim against plaintiff is an action against the debtor and thus should be stayed); Ostano
                                                                                           (continued...)

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    automatic and does not require a formal request; “rather, the onus is on the party

    seeking to proceed to petition the Bankruptcy Court for relief from the stay.”

    Arcands, Inc. v. Travelers Cas. and Sur. Co., 435 F.3d at 259. Whether a stay

    becomes operative is determined by the posture of the parties at the commencement

    of the action or proceeding. Koolik v. Markowitz, 40 F.3d at 568. The purpose of the

    stay is to serve the interests of both the debtor and creditor and to prevent any
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    diminution in the bankrupt estate; accordingly, even the debtor cannot waive nor limit

    the stay in any manner. Ostano Commerzanstalt v. Telewide Sys. Inc., 790 F.2d 206,

    207 (2d Cir. 1986); Maritime Elec. Co. v. United Jersey Bank, 959 F.2d 1194, 1204

    (3d Cir. 1992). Nonetheless, the statute does not specifically address actions brought
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    by the debtor. Ass’n of St. Croix Condominium Owners v. St. Croix Hotel Corp., 682

    F.2d at 448. Actually, based upon the precedents reviewed by this Court, it appears

    that a plaintiff’s action is not stayed but rather permitted and expected to proceed

    since it is an asset of or inures to the benefit of the bankruptcy estate. Maritime Elec.

    Co. Inc. v. United Jersey Bank, 959 F.2d 1194 (defendant debtor’s counterclaims
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            (...continued)
    Commerzanstalt v. Telewide Sys., Inc., 790 F.2d 206, 207 (2d Cir. 1986) (for the proposition that
    11 U.S.C. § 362 includes continuation of any proceeding and an appeal is a continuation of an
    action); Arcands, Inc. v. Travelers Cas. and Sur. Co., 435 F.3d 252 (applicable to arbitrations);
    Maritime Elec. Co., Inc. v. United Jersey Bank, 959 F.2d 1194, 1204 (3d Cir. 1991) (noting that the
    scope of the automatic stay is broad and encompasses all proceedings); In re Capgro Leasing
    Assn’n, 169 B.R. 305, 310 (Bankr. E.D.N.Y. 1994) (“Eight of the twelve circuit courts of appeals
    have held that the automatic stay prevents a debtor from appealing the decision of a non-bankruptcy
    forum, where that action was originally commenced against the debtor.”).

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    against plaintiff father’s corporation were not stayed); Ruff v. Fiondella, 2008 WL

    5220980 (D. Conn. Super Nov. 21, 2008) (the statute “does not . . . operate as a stay

    in the plaintiff’s case against the defendant.”); Kilmer v. Flocar, Inc., 212 F.R.D. 66

    (plaintiff’s tort action was allowed to proceed notwithstanding the plaintiff’s Chapter

    7 bankruptcy filing). Therefore, in weighing the facts of this Court, it appears that

    Plaintiffs may proceed with their civil rights action even though Defendants are stayed
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    from prosecuting any counterclaim that they may muster.

          Both groups of Defendants argue that Acands, Inc. v. Travelers Cas. & Sur. Co.,

    provides the requisite ammunition to stay Plaintiffs’ causes of action as well as their

    prospective counterclaim(s) during the pendency of this bankruptcy. 435 F.3d at 259-
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    260. They argue that if Plaintiffs proceed with their claims and then lose, Defendants

    would be entitled to an affirmative relief of attorney fees and costs, under 42 U.S.C.

    § 1988. And, in such event, it would be a significant diminution of the bankrupt

    estate, an consequence Congress sought to avoid by enacting 11 U.S.C. § 362(a). The

    genesis of their argument is the Third Circuit’s dictum that reads:
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          [f]or a claim to fall within the scope of § 362(a)(3), it must also be
          shown that the grant of affirmative relief to Travelers constitutes an act
          to obtain possession of ACandS’s contractual right to a 45% allocation
          of claims to the operations coverage. Although it cannot accurately be
          said that Travelers obtained ACandS’s rights under the policy, we
          nevertheless hold that the grant of affirmative relief was an act barred by
          the automatic stay. The possession or control language of Section
          362(a)(3) has consistently been interpreted to prevent acts that diminish

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           future recoveries from a debtor’s insurance policies.
    Id. at 260 -261 (citations omitted).

    Therein, the Third Circuit was rightfully concerned about an arbitration award

    diminishing an insurance policy which was an important asset of the estate.

          Yet this Court is not persuaded it must legally and logically extrapolate from

    the concerns in Acands to prevent acts that may diminish future recoveries, that this
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    principle should be extended to the possibility of an award of attorney fees should

    Plaintiffs’ lawsuit fail. That possibility is too contingent and remote for it to neatly

    enfold within the concept of affirmative relief as contemplated by the statute and

    appellate interpretation. Defendants did not provide, nor was this Court able to find,

    any precedent that even implies that the imposition of attorney fees and costs should
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    be a factor in calculating whether debtor’s suits should be stayed during a bankruptcy.

    Accordingly, on this basis, the Court does not grant a stay of the entire lawsuit.

          Next, Defendants submit that the Court should use the equity authority provided

    by 11 U.S.C. § 105 to stay the entire litigation. 11 U.S.C. § 105(a) states that “[t]he
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    court may issue any order, process, or judgment that is necessary or appropriate to

    carry out the provisions of this title.” The County Defendants submit that 11 U.S.C.

    § 105(c) in conjunction with 11 U.S.C. § 362(a) give this Court authority to issue a

    more comprehensive stay in this case. 11 U.S.C. § 105(c) states that “[t]he ability of

    any district judge . . . to exercise any of the authority or responsibilities conferred
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    upon the court under this title shall be determined by reference to the provisions

    relating to such judge . . . set forth in title 28.”

           The Second Circuit was asked to address the implementation of § 105 in

    Teacher Ins. and Annuity Ass’n of Am. v. Butler, 803 F.2d 61. In that case, the Second

    Circuit narrowly framed the issue as whether the bankruptcy court’s equity power to

    stay aspects of a case under § 105 was “properly extended . . . to the non-bankrupt
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    general partners.” Id. at 65. In this respect, the Second Circuit wrote that “while we

    decline to define under what [specific] circumstances, if any, a bankruptcy court may

    properly exercise § 105 jurisdiction to issue a stay with respect to non-bankrupt co-

    defendants, it is clear that any such jurisdiction cannot extend to efforts made in bad
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    faith by non-bankrupt co-defendants[.]” Id. at 65-66. Even though the Second Circuit

    refrained from providing a definition or even examples of what may constitute

    specific circumstances, if such specific circumstances exist, non-debtors may be

    protected by the automatic stay “if it contributes to the debtor’s effort to achieve

    rehabilitation.” Thomas Kernaghan & Co. v. Global Intellicom, Inc., 2000 WL
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    640653, at *14 (S.D.N.Y. May 17, 2000) (quoting Teachers Ins. and Annuity Ass’n,

    803 F.2d at 65). Considering this limited guidance, and the plain language of 11

    U.S.C. § 105(c), this Court cannot say that the possible imposition of attorney fees and

    court costs, which are contingent upon the dismissal of this action, constitutes the type


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    of specific circumstances contemplated in Butler. Nor can we say that even if such

    event could be deemed a specific circumstance, we would find that it contributes to

    debtor’s efforts to rehabilitate. The speculative events in this case constrain us to find

    otherwise insofar as those eventualities would not contribute to rehabilitating the

    debtor. Moreover, based upon the record and the arguments presented, the Court is

    not swayed to utilize its inherent discretion to control its docket by issuing a stay.
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          Next, Defendants contend that Plaintiffs lack the capacity to pursue this claim

    outside the bankruptcy court. Their underlying premise for this contention is that

    Plaintiffs have failed to list this claim as an asset in their bankruptcy petitions and

    therefore cannot prosecute it in this Court. As an adjunct matter, there is a pending
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    motion to dismiss the bankruptcy cases, an opportunity to negotiate a temporary relief

    of monies owed for back taxes in order to avoid dismissal of the Chapter 11 petition,

    or the likely conversion of the Chapter 11 petitions into Chapter 7 proceedings, all of

    which will be heard on July 15, 2009. If the bankruptcy matter is converted into a

    Chapter 7 proceeding, a trustee will be appointed, who will then prosecute this matter.
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    For these reasons, Defendants ask this Court to stay the entire litigation. See Dkt.

    Nos. 62 & 63.

          It is well settled law that once a trustee is appointed, a debtor loses all authority

    to litigate any claim for or against the estate. In re Flanagan v. Mangan, 503 F.3d


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    171, 179 (2d Cir. 2007) (citing 3 COLLIER ON BANKRUPTCY ¶ 323.03, 03.[1], at 323-7

    to 9). Further,

           once [a] plaintiff file[s] for [Chapter 7] bankruptcy, she [loses] the
           capacity to pursue [her] employment discrimination claims in her own
           right. . . .[A]ll of petitioner’s assets - whether legal or equitable interest
           in property - [become] the property of her bankruptcy estate upon filing.
           Causes of action are thus assets of the estate. . . . Once appointed, it is the
           trustee who, as the sole representative of the estate, is charged with the
           responsibility for administering estate property and has the capacity to
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           sue on its behalf.
    Chapple v. Fahnestock & Co., 2006 WL 2546563, at *2 (E.D.N.Y. Sept. 1, 2006)
    (citing, inter alia, Seward v. Devine, 888 F.2d 957, 963 (2d Cir. 1989)).6

    This established principle of law notwithstanding, what confounds this rather clear

    rule and its applicability here is that the Honorable Robert E. Littlefield, Jr., Chief

    United States Bankruptcy Judge, issued an Order, dated May 18, 2009, approving the
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    retention of Meredith H. Savitt, as Special Counsel to Plaintiff Pyramids Child

    Development Center, one of the debtors, for its representation in this District Court

    civil action against Clinton County. Dkt. No. 63, Ex A. Attorney Savitt asserts that

    this Order empowers her to proceed on behalf of a Plaintiff. Defendants characterize
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    her appointment as conditional, pending the appointment of a trustee.

           Upon further reflection, this Court agrees with Ms. Savitt’s view of Judge

    Littlefield’s Order. Knowing that Pyramid Child Development Center had filed a

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             However, if this case was a Chapter 13 petition, the debtor would have standing to litigate
    the causes of action “that are not part of a case under title 11.” Olick v. Parker v. Parsley Petroleum
    Co., 145 F.3d 513. 515-16 (2d Cir. 1998)

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    Chapter 11 petition that has the potential of being converted into a Chapter 7,

    weighing, and then granting the debtor’s application for Savitt’s appointment as

    Special Counsel in this litigation, Judge Littlefield must have decided that it was

    appropriate for this litigation to proceed without the benefit of a trustee’s role or input.

    Moreover, Judge Littlefield ordered Ms. Savitt to report to him certain developments

    as they relate to his litigation.7 Speculation as to whether the bankruptcy will be
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    converted to a Chapter 7 with an appointment of a trustee serves no significant

    consequence at this moment. Therefore, the litigation will proceed.

           There is a Motion to Amend/Correct and to Supplement the Complaint pending

    before this Court. Dkt. No. 51; see supra note 1. Only the North Country Kid
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    Defendants have filed an opposition to the Motion. Dkt. No. 58. The County

    Defendants have sought an extension of their time to respond to the Motion and

    discovery demands pending a resolution of their request for a stay. Dkt. No. 62.

    Accordingly, County Defendants’ opposition to Motion to Amend shall be served and

    filed on or before July 7, 2009.
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           Lastly, Plaintiffs are directed to file a status report with this Court after their

    July 15, 2009 Conference with the Bankruptcy Court.


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              For Judge Littlefield to issue this Order appointing special counsel, evidently he had to
    have considered the significance of this lawsuit to the bankruptcy estate, without specifically stating
    that it was an asset.

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         IT IS SO ORDERED.

    June 5, 2009
    Albany, New York
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